      Case 6:21-cv-06393-EAW-MJP Document 28 Filed 04/27/22 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK

_____________________________________________


EDDIE GARCIA,

                                 Plaintiff,          SCHEDULING ORDER
                                                     21-CV-6393 EAW-MJP
vs.

LEWIS TREE SERVICE, INC., and
ROBERT GASTON,

                                 Defendants.

_____________________________________________


      Pursuant to the order of the Hon. Elizabeth A. Wolford referring the above

case to the undersigned for pretrial procedures and the entry of a scheduling order

as provided in Fed. R. Civ. P. Rule 16(b) and Local Rule 16, and a conference having

been held on April 27, 2022, with counsel relative to the matter, it is

      ORDERED that:

      1. This case has been referred automatically to the Court’s Alternative

          Dispute Resolution (“ADR”) program. The ADR Plan and related forms

          and information are available at www.nywd.uscourts.gov and the Court

          Clerk’s Office.

          a. No later than May 25, 2022, the parties shall confer and select a

             mediator, confirm the mediator’s availability, ensure that the mediator

             does not have a conflict with any of the parties in the case, identify a
Case 6:21-cv-06393-EAW-MJP Document 28 Filed 04/27/22 Page 2 of 5




      date and time for the initial mediation session, and file a stipulation

      confirming their selection on the form provided by the Court. If the

      parties fail to so stipulate, the Court shall appoint an ADR neutral.

      b. Any motions to opt out of the ADR process shall be filed by May 11,

         2022.

      c. The initial mediation session shall be held no later than July 20,

         2022.

      d. The referral to mediation shall terminate on September 20, 2022.

         In the event that settlement is not reached, the case will progress

         toward trial, as scheduled below.

      e. The referral of this case to mediation will not delay or defer other

         dates contained in this Scheduling Order and has no effect on the

         progress of the case toward trial.

2. All mandatory disclosure requirements found in Rule 26(a)(1) of the

   Federal Rules of Civil Procedure, as well as any objections to the

   mandatory disclosure requirements, shall be completed on or before

   May 6, 2022.

3. All motions to join other parties and to amend the pleadings shall be filed

   on or before May 6, 2022.

4. All factual discovery in this case shall be completed on or before

   November 30, 2022. All motions to compel discovery shall be filed by

   October 31, 2022.



                                   2
Case 6:21-cv-06393-EAW-MJP Document 28 Filed 04/27/22 Page 3 of 5




5. Plaintiffs shall identify any expert witnesses and provide reports

   pursuant to Fed. R. Civ. P. 26 by January 3, 2023. Defendants shall

   identify any expert witnesses and provide reports pursuant to Fed. R. Civ.

   P. 26 by February 3, 2023.           All parties shall complete all discovery

   relating to experts, including depositions, by March 3, 2023.

6. Dispositive motions, if any, shall be filed no later than May 1, 2023.

   Unless a consent to proceed before this Court is filed, such motions shall

   be made returnable before Judge Wolford.

7. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

   Local Rule 16 will be held, if necessary, at a date and time to be

   determined by the trial judge after determination of dispositive motions.

   If no dispositive motions are filed, counsel shall immediately contact the

   trial judge so that a trial date status conference can be scheduled.

   At least seven (7) days prior to the trial date status conference, the parties

   shall file a joint case status report setting forth the information described

   below. If the parties disagree as to the information to be provided, the

   report must set forth their different responses. The joint status report

   shall contain:




                                    3
Case 6:21-cv-06393-EAW-MJP Document 28 Filed 04/27/22 Page 4 of 5




      a. Nature of the Case: Set forth a brief description of the action,

         identifying the parties, all counsel of record, the relief requested,

         any affirmative defenses and any relationship the case may have to

         other pending actions.

      b. Motion Practice: Are any motions, dispositive or non-dispositive,

         pending? If so, briefly describe the motion. Explain if additional

         motion practice is necessary before the matter is ready to be tried.

      c. Settlement: Describe the status of settlement negotiations. If the

         parties believe a court supervised settlement/mediation conference

         would be of assistance in resolving the case or narrowing disputed

         issues, please state.

      d. Trial: State whether the case is ready for trial. If not, explain why.

         Set forth an estimate of how long the trial will take and whether

         the case is jury or non-jury.

8. Requests to extend the above cut-off dates may be granted upon written

   application, made prior to the cutoff date, and showing good cause for the

   extension. Application for extensions should be made to the Magistrate

   Judge. Joint or unopposed requests to extend the deadlines set forth in

   this order need not be made by formal motion, but rather may be sought

   in a letter to the court. Letter requests must detail good cause for the

   extension and propose new deadlines.




                                   4
   Case 6:21-cv-06393-EAW-MJP Document 28 Filed 04/27/22 Page 5 of 5




    9. The Court requires that should any discovery dispute arise between the

         parties that a letter be sent to the Court detailing the dispute prior to any

         motion practice.

SO ORDERED.

DATED:      April 27, 2022
            Rochester, New York
                                              __________________________________
                                              MARK W. PEDERSEN
                                              United States Magistrate Judge




                                         5
